  Case: 20-40498      Document: 82     Page: 1    Date Filed: 11/10/2022




         United States Court of Appeals
              for the Fifth Circuit                            United States Court of Appeals
                                                                        Fifth Circuit

                              ___________                             FILED
                                                               November 10, 2022
                               No. 20-40498
                                                                 Lyle W. Cayce
                              ___________                             Clerk

Demetrius Sherman Joseph, Sr.,

                                                       Plaintiff—Appellant,

                                   versus

William R. Jefferson, Jr.; Christopher A. Wood;
Annuncia Wright; Mark A. Callahan; Francisco Garcia;
Brandon Howard,

                                         Defendants—Appellees.
                 ____________________________

                Appeal from the United States District Court
                     for the Eastern District of Texas
                          USDC No. 1:17-CV-235
                 ____________________________

Before Stewart, Willett, and Oldham, Circuit Judges.

                            JUDGMENT

        This cause was considered on the record on appeal and the briefs on
file.
        IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED.
